                      Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 1 of 15 Page ID #:108



                                    1   Daniel L. Rottinghaus, California Bar No. 131949
                                        Scott M. Mackey, California Bar No. 222217
                                    2   Seema N. Kadaba, California Bar No. 304952
                                        BERDING & WEIL LLP
                                    3   2175 N. California Blvd, Suite 500
                                        Walnut Creek, California 94596
                                    4   Telephone: 925/838-2090
                                        Facsimile:    925/820-5592
                                    5   drottinghaus@berdingweil.com
                                        smackey@berdingweil.com
                                    6   skadaba@berdingweil.com

                                    7   Attorneys for Plaintiffs
                                        STEPHEN AND MELINDA DREHER
                                    8

                                    9                                  UNITED STATES DISTRICT COURT
                                   10                                CENTRAL DISTRICT OF CALIFORNIA
                                   11
                                        STEPHEN AND MELINDA DREHER,                           Case No. 2:18-cv-07827
                                   12
                                                       Plaintiffs,                            DECLARATION OF SCOTT M.
                                   13                                                         MACKEY RE: SERVICE ON
                                                 vs.                                          DEFENDANTS THE PNC FINANCIAL
                                   14                                                         SERVICES GROUP,INC. AND DREAM
                                        THE PNC FINANCIAL SERVICES GROUP,                     BUILDER INVESTMENTS LLC
                                   15   INC., a Pennsylvania Corporation, successor
                                        by merger to/with NATIONAL CITY BANK;
                                   16   DREAMBUILDER INVESTMENTS,LLC, A
                                        New York Limited Liability Company; and
                                   17   DOES 1-50,
                                   18                  Defendant.
                                   19

                                   20

                                   21   L Scott M. Mackey, hereby declare as follows:

                                   22            1.    I am a partner with the law firm of Berding & Weil LLP, attorneys for Plaintiffs

                               23       STEPHEN and MELINDA DREHER ("Plaintiffs"), and have personal knowledge of the facts set

                               24       forth in this declaration. If called upon to do so, I could competently testify to the facts set forth

                               25       below.

                               26                2.    On September 7, 2018, Plaintiffs filed a Complaint for Damages naming THE PNC
                               27       FINANCIAL SERVICES GROUP ("PNC") and DREAMBUILDER INVESTMENTS, LLC

                               28 ("Dreambuilder") as Defendants for Cancellation of Lien, Slander of Title, Fraud, Intentional

                                        DECLARATION OF SCOTT M. MACKEY RE: SERVICE ON DEFENDANTS THE PNC
BERDING & WEIL, LLP                     SERVICES GROUP,INC. AND DREAM BUILDER INVESTMENTS LLC
2175 N California Blvd Suite 500
Walnut Creak, California 94596
                     Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 2 of 15 Page ID #:109



                                    1   Interference with Prospective Economic Advantage, and Declaratory Relief arising out of an

                                        Assignment of the Deed of Trust that was unbeknownst to Plaintiffs improperly recorded upon

                                    3   Plaintiffs' real property, located at 546 North Highland Avenue, Los Angeles, California, 90036

                                    4 ("Home"), thereby preventing and interfering with Plaintiffs' ability to sell their Home.

                                    5           2.     On September 17, 2018, Plaintiffs effectuated service of their Complaint upon

                                    6   PNC. A copy of the proof of service for PNC was filed with this Court on November 27, 2018, but

                                    7   was stricken by the Court on November 30, 2018.

                                    8           3.     On November 30, 2018, Plaintiffs mailed a copy ofthe Summons and Complaint to

                                    9   the attention of PNC's corporate officers William S. Demchak (President), George Long

                                   10 (Secretary), Joseph Guyaux (Vice President), and William Parsley (Treasurer) in accordance with

                                   11   California Code of Civil Procedure section 415.40, which permits service by mail of an out-of-

                                   12   state defendant.

                                   13           4.     On January 3, 2019, Plaintiffs filed a Proof of Service for PNC by and through

                                   14   service of the summons and Complaint upon the following: William S. Demchak, President of

                                   15   PNC; George Long, Secretary of PNC; William Parsley, Treasurer of PNC; and Joseph Guyaux,

                                   16   Vice President of PNC. As such, PNC's responsive pleading is due on or before February 2,

                                   17   2019.

                                   18           5.     As for Dreambuilder, after reasonable diligence, Plaintiffs have been unable to

                                   19   locate and serve Dreambuilder with the Summons and Complaint. Although the address identified

                               20       on the Secretary of State of New York's website for Dreambuilder is 30 Wall Street, 5th Floor,

                               21       New York, New York, Dreambuilder is not located at that address. All of the first class mail sent

                               22       to that address from our office since the filing of the Complaint has been returned from the United
                                   23   States Post Office and, according to a process server hired by our office to attempt to personally

                               24       serve Dreambuilder with the Summons and Complaint, Dreambuilder is no longer at 30 Wall

                               25       Street, 5th Floor, New York, New York. A true and correct copy of the Declaration of Due

                               26       Diligence dated November 21, 2018 and prepared by the process server detailing this attempt is

                               27       attached hereto as Exhibit A.

                               28       ///

                                        DECLARATION OF SCOTT M. MACKEY RE: SERVICE ON DEFENDANTS THE PNC FINANCIAL
BERDING & WEIL, LLP                     SERVICES GROUP,INC. AND DREAM BUILDER INVESTMENTS LLC
2175 N California Blvd Suite 500
Walnut Creek, California 94596
                      Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 3 of 15 Page ID #:110



                                    1          6.       Plaintiffs then attempted to locate former presidents and chief executive officers as

                                    2    well as other heads of the corporations, vice presidents, secretaries, assistant secretaries,

                                    3   treasurers, assistant treasurers, controllers, chief financial officers, general managers, or other

                                    4   persons authorized by the corporation to receive service of process of the Summons and

                                    5   Complaint on behalf of Dreambuilder.

                                   6           7.       Plaintiffs attempted to serve George Palmer, an officer of Dreambuilder, at his

                                    7   business address, to no avail, as the address we could locate was for a virtual office that Mr.

                                   8    Palmer is not physically present at and uses as an address for a Boston mailing address and phone

                                   9    number. A true and correct copy of the Declaration of Due Diligence dated January 4, 2019 and

                                   10   prepared by the process server detailing this attempt is attached hereto as Exhibit B.

                                   11          8.       Plaintiffs attempted to serve Peter J. Andrews, an officer of Dreambuilder, at his

                                   12   home address, to no avail, as he refused to accept service. A true and correct copy of the

                                   13   Declaration of Due Diligence dated January 10, 2019 and prepared by the process server detailing

                                   14   this attempt is attached hereto as Exhibit C.

                                   15          9.       On January 9, 2019, pursuant to Federal Rule of Civil Procedure Rule 4(c)(3),

                                   16   Plaintiffs sent a letter to the New York Sherriffs Department, requesting service on Peter J.

                                   17   Andrews, as an Officer of Dreambuilder. A true and correct copy of this request is attached hereto

                                   18   as Exhibit D.

                                   19          10.      On January 10, 2019, the New York City Department of Finance, Office of the

                               20       Sheriff informed the process server that the request was received and would take two weeks before

                               21       a status would be available. A true and correct copy ofthe Service of Process Intake from the New

                               22       York City Department of Finance, Office ofthe Sheriff is attached hereto as Exhibit E.

                               23       / //

                               24       ///

                               25       ///

                               26       ///

                               27       ///

                               28       // /

                                        DECLARATION OF SCOTT M. MACKEY RE: SERVICE ON DEFENDANTS THE PNC FINANCIAL
BERDING & WEIL, LLP                     SERVICES GROUP,INC. AND DREAM BUILDER INVESTMENTS LLC
2175 N California Blvd Suite 500
Walnut Creek, California 94596
                      Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 4 of 15 Page ID #:111



                                        1            9.       Accordingly, Plaintiffs request, pursuant to Federal Rule of Civil Procedure Rule

                                            4(m), that the Court extend the time for service of the Summons and Complaint upon

                                    3       Dreambuilder for an additional sixty(60) days.

                                    4                I declare under penalty of perjury under the laws of the State of California that the

                                    5       foregoing is true and correct. Executed this 17th of January, 2019, i      ut Creek, California.

                                    6

                                    7                                                                               ott M. Mackey
                                    8

                                    9

                                   10       X:\Wdocs\6799\94\PLD\00969152.DOCX


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                                            DECLARATION OF SCOTT M. MACKEY RE: SERVICE ON DEFENDANTS THE PNC FINANCIAL
                                                                                                                   _4;
BERDING & WEIL, LLP                         SERVICES GROUP,INC. AND DREAM BUILDER INVESTMENTS LLC
2175 N California Blvd Suite 500
Walnut Creek, California 94596
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 5 of 15 Page ID #:112




                    EXHIBIT A
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 6 of 15 Page ID #:113




   AI FORNEY i Si N AX1E ik A DDRESS                                                                 FOR COURT USE
   Daniel 1 . Rottinghaus I sr3.: 13 I 9491
   Scott NI. llackcy SBN 2122 17i
  (;ERDING 8; WEIL. LLP
   2175 N. California lihd.. Suite
   Walnut Creek. CA 9-159h
   Tel, No.: 925.838.2090                   Fax No: 9_5_82i) 5592
 I 1tromemi /ot PlaintilTs STEPHEN and MELINDA )It EHER
   Reference BERk1 E1VC-0002677-51B
                           UNITED STATES DISTRICT tr OURT
                        CENTRA!. DISTRICT OF CALIFORNIA
 I PI.\INTI1-1 PETITIONER - STEPHEN AND XIELINDA DRF.HER,
     DUF F ND.AN RESPONDENt: THE P\C Fl ANCIAL SERVICES GROL P. INC.,
     Perms2. ania Corporation. sueeessor inerger to witli N \T1ONAL CITY B ANK:
     DRE AMBUI I DER INVES1 X1FNTS. LLC. 1\ew York Eitnited I. iabilits Company.:
     and DOF.S I - 50

 r                          DECL     -\TION Of DILIGENCE
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                                                                                                  2:18-cv-07827 MWF FFM)

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 a witness. 1 can and .Sill testif) competently thereto. 1 and am employees or agents rctained b,)-EXPRESS NU.f WORK. 1605
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       . of 18 raars and nota para to this action
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 On November 9, 2018.. EXPRESS        rwORK,
                                        received the1011owine documenti si: SUMMOtiS IN A Cl            ACTION:
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  0 Wall Street. 61
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 New York, NY 10005
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                                   DRE AXIIIVILDER 1    FSTMENTS. LIC MOVLD OUT rv, MONTES ;GO. THEY
                                   DID NOT I 1 AVE A FORW 1RDrs;G ADDRESS.




 Person serving:
 BOBB't. A! I                                                               X I Not a Registered California Process Server
 Express Network                                                          4 11Emplo:iee or Independent Contractor
 1605 11 Olympic BlAd , E Floor                                           (23 Registration No.:
 Los Angeles, California 90015                                             4 3i Counry,

 /deciare under penalry ofperjurj under Me             Stafe ti -alii'ornia (hal rlre toregoing is      nd correct




 Date NOVEMBER 21. 2018

                                              DECL Ati M'N Oi DILIGENC
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 7 of 15 Page ID #:114




                    EXHIBIT B
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 8 of 15 Page ID #:115




 ATTORNEY(S)NAME & ADDRESS                                                                    FOR COURT USE ONLY
 Daniel L. Rottinghaus(SBN 131949)
 Scott M. Mackey(SBN 222217)
 BERDING & WEIL,LLP
 2175 N. California Blvd., Suite 500
 Walnut Creek, CA 94596
 Tel. No.: 925.838.2090                  Fax No.: 925.820.5592
 Attorney(s)for Plaintiffs: STEPHEN and MELINDA DREHER
 Reference: BERWEWC-0002790-TF
                         UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 PLAINTIFF/PETITIONER: STEPHEN AND MELINDA DREHER,
 DEFENDANT/RESPONDENT:THE PNC FINANCIAL SERVICES GROUP,INC., a
 Pennsylvania Corporation, successor by merger to/with NATIONAL CITY BANK;
 DREAMBUILDER INVESTMENTS,LLC, A New York Limited Liability Company;
 and DOES 1 - 50
                                                                                          CASE No.:
                           DECLARATION OF DILIGENCE
                                                                                            2:18-cv-07827 MWF(FFM)

I,JOHN RYMASZEWSKI,declare that I have personal, firsthand knowledge ofthe following facts, and if called and sworn as a
witness, I can and will testify competently thereto. I and any employees or agents retained by EXPRESS NETWORK, 1605 W.
Olympic Blvd., 8th Floor, Los Angeles, California 90015(213)975-9850, are and were on the dates mentioned herein over the
age of 18 years and not a party to this action.

On November 28, 2018, EXPRESS NETWORK,received the following document(s): SUMMONS IN A CIVIL ACTION;
COMPLAINT FOR DAMAGES;CIVIL COVER SHEET; CERTIFICATION AND NOTICE OF INTERESTED PARTIES;
NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES; NOTICE TO PARTIES OF COURT-DIRECTED ADR
PROGRAM,to be served on DREAMBUILDER INVESTMENTS,LLC, A New York Limited Liability Co., at the following
address:

ATTEMPTED SERVICE AT:
200 PORTLAND STREET,5TH FLOOR
BOSTON,MA 02114

 1 1-29-2018 AT 10:00AM            THIS ADDRESS IS A VITURAL OFFICE THAT IS SHARED BY HUNDREDS OF
                                   COMPANIES. GREGORY PALMER IS NEVER HERE AND USES THIS ADDRESS FOR
                                   A BOSTON MAILING ADDRESS/PHONE NUMBER.




Person serving:
JOHN RYMASZEWSKI                                                        (X)Not a Registered California Process Server
Express Network                                                         (1) Employee or Independent Contractor
1605 W.Olympic Blvd., 8th Floor                                         (2)Registration No.:
Los Angeles, California 90015                                           (3)County:

I declare under penalty ofperjury under the laws ofthe State ofCalifornia that theforegoing is tiy14nd correct

Date: JANUARY 4,2019

                                             DECLARATION OF DILIGENCE
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 9 of 15 Page ID #:116




                    EXHIBIT C
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 10 of 15 Page ID #:117



  ATTORNEY (S)NAME & ADDRESS                                                                     FOR COURT USE ONLY
  Daniel L. Rottinghaus(SBN 131949)
  Scott M. Mackey(SBN 222217)
  BERDING & WEIL, LLP
  2175 N. California Blvd., Suite 500
  Walnut Creek, CA 94596
  Tel. No.: 925.838.2090                  Fax No.: 925.820.5592
  Attorney(s)for Plaintiffs: STEPHEN and MELINDA DREHER
  Reference: BERWEWC-0002763-TF.a
                          UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  PLAINTIFF/PETITIONER: STEPHEN AND MELINDA DREHER,
  DEFENDANT/RESPONDENT:THE PNC FINANCIAL SERVICES GROUP,INC.. a
  Pennsylvania Corporation, successor by merger to/with NATIONAL CITY BANK;
  DREAMBUILDER INVESTMENTS. LLC, A New York Limited Liability Company:
  and DOES 1 - 50
                                                                                             CASE No.:
                            DECLARATION OF DILIGENCE
                                                                                               2:18-cv-07827 MWF(FFM)

 I. BOBBY ALI, declare that I have personal. firsthand knowledge of the following facts, and if called and sworn as a witness, I
 can and will testify competently thereto. I and any employees or agents retained by EXPRESS NETWORK. 1605 W. Olympic
 Blvd., 8'Floor, Los Angeles, California 90015 (213)975-9850, are and were on the dates mentioned herein over the age of 18
 years and not a party to this action.

 On November 20, 2018,EXPRESS NETWORK. received the following document(s): SUMMONS IN A CIVIL ACTION;
 COMPLAINT FOR DAMAGES; CIVIL COVER SHEET; CERTIFICATION AND NOTICE OF INTERESTED PARTIES;
 NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES; NOTICE TO PARTIES OF COURT-DIRECTED ADR
 PROGRAM,to be served on DREAMBUILDER INVESTMENTS,LLC, A New York Limited Liability Co., at the following
 address:

 ATTEMPTED SERVICE AT:
 55 LIBERTY STREET, APT 13C
 NEW YORK,NY 10005

 1 1-21-2018 AT 10:50AM             DOORMAN REFUSED TO CALL IF WE WERE SERVING PROCESS. HE SAID THAT
                                    ALL SERVICE MUST BE APPROVED BY/ROUTED THROUGH THE MANAGING
                                    AGENT FOR THE BUILDING. A COMPANY CALLED "FIRST SERVICE
                                    RESIDENTIAL" THEY ARE A BIG COMPANY AND HANDLE THE MANAGEMENT
                                    SERVICES FOR A LOT OF BUILDINGS.

                                   (OFFICE STAFF TRIED TO REACH OUT TO THE BUILDING'S MANAGING AGENT
                                    BUT NEVER HEARD BACK)




Person serving:
BOBBY ALl                                                                 (X)Not a Registered California Process Server
Express Network                                                           (I) Employee or Independent Contractor
1605 W. Olympic Blvd., 8th Floor                                          (2)Registration No.:
Los Angeles. California 90015                                             (3)County:

 1 declare under penalty ofperjury under the laws ofthe State ofCalifornia that theforegoing is tr e and correct.
                                                                                           r

 Date: JANUARY 10, 2019
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 11 of 15 Page ID #:118



                                            DECLARATION OF DILIGENCE
  ATTORNEY (S)NAME & ADDRESS                                                                        FOR COURT USE ONL
  Daniel L. Rottinghaus(SBN 131949)
  Scott M. Mackey(SBN 222217)
  BERDING & WEIL, LLP
  2175 N. California Blvd., Suite 500
  Walnut Creek, CA 94596
  Tel. No.: 925.838.2090                  Fax No.: 925.820.5592
  Attorney(s)for Plaintiffs: STEPHEN and MELINDA DREHER
  Reference: BERWEWC-0002763-TF.b
                          UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  PLAINTIFF/PETITIONER: STEPHEN AND MELINDA DREHER.
  DEFENDANT/RESPONDENT: THE PNC FINANCIAL SERVICES GROUP,INC., a
  Pennsylvania Corporation, successor by merger to/with NATIONAL CITY BANK;
  DREAMBUILDER INVESTMENTS, LLC, A New York Limited Liability Company;
  and DOES 1 - 50
                                                                                            CASE No.:
                            DECLARATION OF DILIGENCE
                                                                                              2:18-cv-07827 MWF(FFM)

 1,LIGNO SANCHEZ,declare that I have personal, firsthand knowledge of the following facts, and if called and sworn as a
 witness, I can and will testify competently thereto. I and any employees or agents retained by EXPRESS NETWORK, 1605 W.
 Olympic Blvd., 8th Floor. Los Angeles, California 90015(213)975-9850. are and were on the dates mentioned herein over the
 age of 18 years and not a party to this action.

 On DECEMBER 3. 2018, EXPRESS NETWORK,received the following document(s): SUMMONS IN A CIVIL ACTION:
 COMPLAINT FOR DAMAGES; CIVIL COVER SHEET; CERTIFICATION AND NOTICE OF INTERESTED PARTIES:
 NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES; NOTICE TO PARTIES OF COURT-DIRECTED ADR
 PROGRAM,to be served on DREAMBUILDER INVESTMENTS,LLC, A New York Limited Liability Co., at the following
 address:

 ATTEMPTED SERVICE AT:
 55 LIBERTY STREET, APT 13C
 NEW YORK,NY 10005

 1 2-03-2018 AT 7:33PM              THE DOORMAN CALLED AND RECEIVED NO ANSWER
 1 2-08-2018 AT 09:34AM             THE DOORMAN CALLED AND RECEIVED NO ANSWER




 Person serving:
 LIGNO SANCHEZ                                                            (X)Not a Registered California Process Server
 Express Network                                                          (1)Employee or Independent Contractor
 1605 W. Olympic Blvd., 8th Floor                                         (2) Registration No.:
 Los Angeles, California 90015                                            (3) County:

 I declare under penalty ofperjury under the laws ofthe State ofCallfbrnia that theforegoing is t      n   orrect.


 Date: JANUARY 10, 2019

                                               DECLARATION OF DILIGENCE
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 12 of 15 Page ID #:119




                    EXHIBIT D
   Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 13 of 15 Page ID #:120
 BERDING WEIL                                                                           BERDING & WEIL LLP

                                                                                        WALNUT CREEK
 A TTORNEYS AT LAW                                                                      2175 N. California Blvd.
                                                                                        Suite 500
                                                                                        Walnut Creek, CA 94596
                                                                                        925.838.2090
                                                                                        925.820.5592 f

                                                                                        COSTA MESA
                                            January 9, 2019
                                                                                        575 Anton Boulevard
                                                                                        Suite 1080 Metro Center
                                                                                        Costa Mesa, CA 92626
                                                                                        714.429.0600
 VIA MESSENGER                                                                          714.429.0699 f

                                                                                        SAN DIEGO
New York Sheriffs Department                                                            1660 Hotel Circle North
Manhattan Division                                                                      Suite 701
                                                                                        San Diego, CA 92108
66 John Street                                                                          858.625.3900
13th Floor                                                                              858.625.3901
New York, NY, 10038                                                                     W VVW BERDINGWEIL COM


        Re:    Steve and Melissa Dreher v. The PNC Financial Services Group, Inc., et al.
               United Stated District Court — Central District of California
               Case No. 2:18-CV-07827-MWF-FFM

To Whom It May Concern:

          We represent Plaintiffs in the above-referenced matter. Please serve the attached documents
(3 copies) on Peter J. Andrews, as an Officer of Dreambuilder Investments, LLC, a New York Limited
 Liability Company, 55 Liberty Street, Apartment 13C, New York, NY 10005.

       Summons in a Civil Action
       Complaint for Damages
       Civil Case Coversheet
       Notice of Parties of Court Directed ADR Program
       Certification and Notice of Interested Parties
       Notice of Assignment to United States Judges

         Also enclosed is the $32.00 fee for service of process. Proof of Service should be mailed to the
Walnut Creek address above, to my attention. Should you have any questions, please do not hesitate
to call — 925-838-2090 office or 925-262-3613 cell.

       Thank you.

                                                    Very truly yours,

                                                    BERDING & WEIL LLP



                                                    Michele Poloka
                                                    Senior Legal Assistant
                                                    m poloka@berdingweil.com

EMP:mp
Enclosures



                                PLEASE REPLY TO OUR WALNUT CREEK OFFICE
Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 14 of 15 Page ID #:121




                     EXHIBIT E
    Case 2:18-cv-07827-MWF-FFM Document 16 Filed 01/17/19 Page 15 of 15 Page ID #:122



                                       NYC Department of Finance • Office of the Sheriff

    Department of Finance
                                  SERVICE OF PROCESS INTAKE
   Mail to: County Office of the Sheriff where the services are to be made. County Sheriff locations are listed on the reverse side.
 Instructions: Use this form to request services from the Office of the Sheriff. Service can include notices, petitions, subpoe-
 nas, orders, writs and other related papers. Please read the entire page before completing and see reverse side for informaiton
 regarding service fees and borough locations of the Office of the Sheriff. Please note: This form MUST be completed in English.
 SECTION I - FILING PARTY INFORMATION
 Filing                                                                                               Datime
 Party:
                                                            SyfetINT LAST NAME
                                                                                                      Telephone No.: 1. /i°     9(f         V
                                                                                                                                            i71
                      PRINT FIRST NAME


 Address: /(e               t   gS1-          Sr
                                                            APT. NO.
                                                                         City:                 6772-/-           State:       Zip Code:
                                                                                                                                          /Griir
                     NUMBER AND STREET


 SECTION 11 - COURT INFORMATION
 The Summons was obtained in the following Court:

0FAMILY COURT                    0SUPREME COURT                          0CIVIL COURT                          OTHER COURT
 County of: ®NEW YORK                    El BRONX               KINGS El QUEENS                El RICHMOND ID OTHER

 Court Address:             CO' Welr 1ST                                 City: /°•-r            C-fe2"6---S-     State:       Zip Code: 7°Ci/
                                       NUMBER AND STREET
                                                                                                                                             cA-

  SECTION III - SUBJECT INFORMATION

 Person To                                                                 Date
 Be Served:           L5---r&-oz.                 iki)l-cia                of Birth:       4/01/0e4hissN:(
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                                                                                           3              //irt--Akpol
                    PRINT FIRST NAME                PRINT LAST NAME



 Address:
                     NUMBER AND STREET
                                                     cr4b-
                                                         671,1.11-d Borough:
                                                                            APT. NO.
                                                                                                                          Met4ip Code:

 Best Time to Attempt
 Service at this address:                          Home Number:                                          Cell Number:

 Alternative Address:                                                                          Borough:                        Zip Code:
                                   NUMBER AND STREET                        APT. NO.

 Best Time to Attempt
 Service at this address:                          Home Number:                                          Cell Number:
 Employer:                                                                       Address:
 Physical Description: Picture Provided?fl YES El:
                                                 N1C/
 Sex:          Height:            Weight:                  Hair:                       Skin:              Tatoos/Other:

 Vehicle Information: Make:                                            Model:                            Year:             Color:

  SECTION III - GENERAL INFORMATION
 Indicate below any information which may be helpful in effecting a prompt and safe service of the person: i.e. best time to serve papers,
 criminal activity at location, threats of violence, animals, person is emotionally disturbed or any other behavior or circumstance.




  SECTION IV - CERTIFICATION
 The undersigned hereby affir to the best of his/her knoWledge that the mandate being filed i 'n full effect, and request
 is made to the Sh   .          404_ . I ory authority.

                                                                                                       o/
 Signature;                                                                                      Date:
Visit Finance a nyc.govifinance                                                                                                     SH-0609 11.10.2016
